Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3307 Page 1 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3308 Page 2 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3309 Page 3 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3310 Page 4 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3311 Page 5 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3312 Page 6 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3313 Page 7 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3314 Page 8 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3315 Page 9 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3316 Page 10 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3317 Page 11 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3318 Page 12 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3319 Page 13 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3320 Page 14 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3321 Page 15 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3322 Page 16 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3323 Page 17 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3324 Page 18 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3325 Page 19 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3326 Page 20 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3327 Page 21 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3328 Page 22 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3329 Page 23 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3330 Page 24 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3331 Page 25 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3332 Page 26 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3333 Page 27 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3334 Page 28 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3335 Page 29 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3336 Page 30 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3337 Page 31 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3338 Page 32 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3339 Page 33 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3340 Page 34 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3341 Page 35 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3342 Page 36 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3343 Page 37 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3344 Page 38 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3345 Page 39 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3346 Page 40 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3347 Page 41 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3348 Page 42 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3349 Page 43 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3350 Page 44 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3351 Page 45 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3352 Page 46 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3353 Page 47 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3354 Page 48 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3355 Page 49 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3356 Page 50 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3357 Page 51 of 52
Case 3:04-cv-00209-BTM-WMC Document 33 Filed 06/03/04 PageID.3358 Page 52 of 52
